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               IN THE UNITED STATES DISTRICT COURT FOR
                   THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION


 LANCE SPENCER,

       Petitioner,

 V.                                            CASE NOS.CV419-184
                                                         CR418-171
 UNITED STATES OF AMERICA,

       Respondent.



                                ORDER


      Before the Court is the Magistrate Judge's April 6, 2021,

Report and Recommendation {Doc. 4)^, to which Petitioner has filed

an objection (Doc. 8). After a careful de novo review of the

record, the report and recommendation is ADOPTED as the Court's

opinion in this case.

      In October 2018, Petitioner pleaded guilty to one count of

possession of a firearm by a prohibited person. (CR418-171, Doc.

27.) On July 29, 2019, Petitioner filed a motion under 28 U.S.C.

§ 2255 to vacate, set aside or correct his sentence asserting that,

in the wake of the Supreme Court's ruling in Rehaif v. United

States, -- U.S.         139 S. Ct. 2191, 204 L. Ed. 2d 2191 (2019),

the Government failed to establish the scienter needed to prove

the charged offense. (Doc. 1 at 5.) Almost a year later, on June




^ Unless otherwise stated, all citations are to Petitioner's civil
docket on this Court's electronic filing system, CV419-184.
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23, 2020, Petitioner filed a motion to amend his motion to vacate

to    include   an   additional     ground   of   ineffective        assistance    of

counsel,    alleging    that   his   counsel      failed    to   investigate      and

contest the lack of probable cause for the traffic stop that led

to his arrest. {Doc. 3.) In the report and recommendation, the

Magistrate Judge recommended that the motion to amend and the

motion to vacate be denied. (Doc. 4 at 3-5.)

       Petitioner     has   filed    an   objection        to    the    report    and

recommendation. (Doc. 8.) In his objection. Petitioner does not

contest the     Magistrate     Judge's determination that               his initial

ground for relief based on Rehaif is precluded by his guilty plea.

(Doc. 4 at 4-5.) Rather, Petitioner focuses only on the Magistrate

Judge's determination that the motion to amend is untimely. (Doc.

8.)   Petitioner asserts that         his amendment should             be   deemed to

relate back to the initial motion, as both claims are derived from

a ^^common core of operative facts." (Id. at 1-3.)

       Motions to vacate, set aside, or correct a sentence under 28

U.S.C. § 2255 are subject to a one-year statute of limitations.

28    U.S.C. § 2255(f). At the         time of filing,           a   petitioner is

required to ^^specify all grounds for relief available." 28 U.S.C.

§ 2255 R. 2(b)(1). This requirement is made known to a petitioner

on the form used to submit his motion. (Doc. 1 at 4 ('^For this

motion, state every ground on which you claim that you are being

held in violation of the Constitution, laws or treaties of the
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United States.") {emphasis added)). The deadline for Petitioner to

file his § 2255 motion was February 1, 2020, more than five months

before the motion to amend was filed. In advance of that deadline.

Petitioner had filed only his motion to vacate, which did not

include an ineffective assistance of counsel claim.


     Petitioner's argument that the amendment relates back to the

earlier, timely-filed motion to vacate is flawed as the grounds

for relief asserted in the two distinct motions did not             [arise]

out of the [same] conduct, transaction, or occurrence." See Fed.

R. Civ. P. 15(c)(1)(B). In the context of habeas, the Supreme Court

has defined a common ^^conduct, transaction, or occurrence" to be

narrower than simply arising from the same '"trial, conviction, or

sentence." Mayle v. Felix, 545 U.S. 644, 664, 125 S. Ct. 2562,

2574, 162 L. Ed. 2d 582 (2005). Relation back is only available if

the amendment and original motion state claims that are tied to a

"common core of operative facts." Id. Petitioner's motion to vacate

was premised entirely on the failure of the Court to require the

Government   to   establish   the   scienter   element   of   his   charged

offence. (Doc. 1 at 4-7.) Petitioner's motion to amend, however,

raised the issue of counsel's alleged failure to investigate and

challenge the probable cause of his traffic stop. (Doc. 3.) Despite

Petitioner's contention, these issues do not share a "common core

of operative facts." Therefore, the motion to amend cannot relate

back to the motion to vacate and is untimely.
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     For the reasons discussed here and in the Magistrate Judge's

report   and   recommendation,   Petitioner's objection      (Doc.   3) is

OVERRULED. Accordingly, the report and recommendation (Doc. 4) is

ADOPTED as the opinion of the Court. As a result. Petitioner's

motion to vacate, set aside or correct sentence (Doc. 1) and motion

to amend (Doc. 3) are DENIED. The Clerk of Court is DIRECTED to

CLOSE this case.


     Further, a federal prisoner must obtain           a   certificate of

appealability ("COA") before appealing the denial of his motion to

vacate. Applying the COA standards set forth in Brown v. United

States, Nos. 407CV085, 403CR001, 2009 WL 307872 at *1-2 (S.D. Ga.

Feb. 9, 2009), the Court discerns no COA-worthy issues at this

stage of the litigation, so no COA will issue either. 28 U.S.C.

§ 2253(c)(1); Rule 11(a) of the Rules Governing Habeas Corpus Cases

Under 28 U.S.C. § 2255 ("The district court must issue or deny a

certificate of appealability when it enters a final order adverse

to the applicant.").

     SO ORDERED this     Y'^     day of June 2021.



                                   WILLIAM T. MOORE,
                                   UNITED STATES DISTRICT COURT
                                  SOUTHERN   DISTRICT OF GEORGIA
